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 17-16) (Part 17-16) 03.28.25 re The Parties' Joint Declaration and
Stipulation of Rule 3.3 and 8.4 Violations, and Sum Certain
Stipulated Money Judgment Damages of $5.2225 billion, FiYftu:\J soFFICE                                   1


Support of a Court-Supervised Rule 3.3 Candor Proceeding. u.s.o.c.-At1anta
                                                             MAR 31 2025
                        Case No. 1:25-cv-00613-MLB
                                                                                           KEV~      EIMER, Clel1<
                                                                                           By:~       Deputy~
                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
Ulysses T. Ware and Group-Management (a sole proprietorship),
Appellants,

v.

Alpha Capital AG, et al., Predatory Unregistered Broker-Dealers,
Appellees.

(On Appeal from In re Group Management Corp., Case No. 03-93031 (BC NDGA), Chapter
11)



APPELLANTS' AND APPELLEES' JOINT DECLARATION AND STIPULATION IN
SUPPORT OF A COURT-SUPERVISED RULE 3.3 CANDOR PROCEEDING
REGARDING (I) LACK OF ARTICLE III SUBJECT MATTER JURISDICTION
(STANDING), (II) VIOLATIONS OF GEORGIA RULES OF PROFESSIONAL
CONDUCT 3.3 AND 8.4, AND BANKR. RULE 9011(b)(l-4), AND (III) STIPULATED
CONSENT MONEY JUDGMENT FOR DAMAGES, JOINTLY AND SEVERALLY, IN
THE SUM CERTAIN AMOUNT OF $5.2225 BILLION, PAYABLE TO THE
APPELLANTS, ULYSSES :f. WARE AND GROUP MANAGEMENT.

Respectfully submitted this 28 th day of March 2025 at I :05:32 PM

The Office of Ulysses T. Ware
123 Linden Blvd. , Ste 9-L
Brooklyn, NY 11226

C))~:t.W~
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(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SONY), 03 -93031 (BC NOGA), and 25cv00613 (NOGA) proceedings; and
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(718) 844-1260
utware007@gmail .com

By: /s/ Ulysses T. Ware

Ulysses T. Ware
Attorney in Fact for Appellants




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TO: EACH APPELLEE (AND THEIR LEGAL COUNSEL) NAMED IN DKT. 281 (03-
93031), INCLUDING BUT NOT LIMITED TO KILPATRICK TOWNSEND &
STOCKTON LLP (DENNIS S. MEIR, JOHN W. MILLS III, J. HENRY WALKER IV,
WAB KADABA), KENNETH A. ZITTER, ESQ., ARIE RABINOWITZ, OFFICE OF THE
U.S. TRUSTEE, REGION 21 (JAMES H. MORA WETZ, MARY IDA TOWNSON,
JENEANE TREACE), THEIR PRIVIES, AGENTS, PROXIES, SURROGATES, ALTER-
EGOS, AND ALL THOSE IN ACTIVE CONCERT THEREWITH, JOINTLY AND
SEVERALLY, (THE "APPELLEES"), AN ILLEGAL ASSOCIATION IN FACT AS
DEFINED IN 18 U.S.C. § 1961(4).

DEMAND FOR RESPONSE AND CONSEQUENCES OF FAILURE TO RESPOND

        Each Appellee identified above and in Dkt. 281 (03-93031), their privies, agents, proxies,
surrogates, alter-egos, and all those in active concert therewith, jointly and severally, are hereby
formally put on notice of the foregoing factual predicates establishing their lack of Article III
standing and violations of professional conduct rules 3.3 and 8.4, and personal monetary liability
for the sum certain amount of $5 .2225 billion, jointly and severally.

        Appellees are directed to respond to this Declaration (17-16) (Part 17-16) (Parts I, II,
II, IV, and V), supra, in written opposition, under oath, subject to the penalty of perjury, as
officers of the court where applicable, and pursuant to their duties under Rules 3.3 and 8.4
of the District Court (NDGA), the ABA, and Georgia Bar's Rules of Professional Conduct,
no later than Friday, March 28, 2~25, att:00 PM Eastern Time. Time is of the~'essence.

        Failure by any Appellee (or their authorized counsel) to file a timely, sworn written
opposition specifically refuting the factual predicates in Parts I, II, III, IV, and V above shall result
in each non-responding Appellee being deemed, jointly and severally, to have knowingly and
willfully, with actual and constructive notice of this Joint Declaration (17-16), JUDICIALLY
ADMITTED, CONFESSED, STIPULATED, AND AGREED to the truth and accuracy of each
factual predicate herein, and to have NO OPPOSffiON to the conclusions that Article Ill
standing was and is currently lacking and absent, and that their conduct and the conduct of
their counsel violated G@rgia R,ules of Professional Conduct 3.3 and 8.4 and Fed. R. Bankr.
P. 9011(b)(l-4}.

       These judicial admissions shall be binding upon each non-responding Appellee for use in
and for any purpose with respect to the following judicial proceedings: 02cv22 l 9 (SDNY), 03-
93031 (BC NDGA), US. v. Ware, 04cr1224 (SDNY), US. v. Ware, 05crl 115 (SDNY), In re Ware
(2008) (Supreme Court of Georgia), 25cv006 l 3 (NDGA), and any other subsequent proceeding
between Appellants and Appellees.

Signed this 28th day of March 2025, under oath, subject to the penalty of perjury, having personal
knowledge of the facts, pursuant to 28 U.S.C. § 1746, in Brooklyn, NY.



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~               ~wlu.(
        lysses T.
Uly~           ;.,e,   attorney in fact for the Appellants

March 28, 2025
Brooklyn, NY 11226




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                                     123 Linden Blvd., Ste 9-L
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                                      utware007@gmail.com

                               Friday, March 28, 2025, 1:05:32 PM

                              Ware, et al. v. Alpha Capital, AG, et al.

    Case No. 25cv00613 (NDGA) and 03-93031 (BC NDGA), and 02cv2219 (SDNY), and
 04crl224 (SDNY), and 05crl 115 (SDNY), and In re Ware (2008), Supreme Court of Georgia

    The Appellees, nor their legal counsels, filed any written opposition or
 challenge to the factual admissions, judicial admissions, factual stipulations,
   and immediate entry of a money judgment in the sum certain amount of
  $5.2225 billion, joint and several liability, against each Appellee and thei11
                                     Privies.

   The Appellants' and Appellees' Joint Rule 3.3
     and Rule 8~4 Declaration and Stipulation.
I, Ulysses T. Ware, hereby this 28 th day of March 2025, on behalf of the Appellants and each
Appellee, (with actual notice and implied consent), pursuant to 28 U.S.C. § 1746, incorporate
by reference herein, in haec verba, the Joint Stipulated Appellate Record (JSAR) in 25cv00613
(NDGA), and declare under penalty of perjury under the laws of the United States of America,
based upon personal knowledge and a diligent review of the record in this matter (Dkt. 5-1 to Dkt.
18) and related proceedings (02cv2219 (SDNY)), that the following facts are true and correct.
These facts establish the absence of Article III subject matter jurisdiction (standing) concerning
Appellees' participation in this appeal (25cv00613) and the underlying Bankruptcy Court
proceeding (03-93031 ), and further establish Appellees ' and their counsels ' violations of their
ethical duties under the District Court (NDGA), the ABA, and Georgia Rules of Professional
Conduct Rule 3.3 and Rule 8.4, Bankruptcy Rule 901 l(b)(l-4), and 28 USC§ 1927:

                                                  I.




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I. FACTUAL PREDICATES CONFIRMING LACK                                                             OF
ARTICLE   III STANDING   AND VIOLATIONS                                                           OF
PROFESSIONAL CONDUCT RULES.
   1. Incontrovertible Illegality and Voidness Ab Initio of Underlying Instruments (GX 1-
      4, GX 5): The Predatory Criminal Usury Subject Matter Instruments (GX 1-4, GX 5),
      forming the sole basis for Appellees ' purported claims (Dkt. 5-1 to 5-6), are void ab initio
      under: (a) New York Penal Law § 190.40 (criminal usury, a class E felony), imposing
      interest exceeding 2,000% per annum, making them null and void ab initio, uncollectible,
      and unenforceable criminal usury contracts; and (b) 15 U.S.C. § 78cc(b), due to Appellees '
      (the 02cv2219 Plaintiffs) operation as unregistered broker-dealers [JSAR, Dkt. 5-13, p.
      48] , rendering the associated contracts, GX 1-4, and GX 5, void as to their rights. Legal
      Significance: This fundamental, multi-layered illegality and voidness, knowable through
      reasonable inquiry, negates any possibility of a "legally protected interest" for Article III
      standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) .
   2. Conclusive 2007 Fin~l Judgment Extinguishing All Claims: On December 20, 2007,
      the 02cv2219 Plaintiffs (Appellees/privies herein), through their legal counsel Appellee
      Zitter, voluntarily procured a Final Judgment dismissing all claims based on GX 1-4/GX
      5 with prejudice under Rule 41 (a)(2) in 02cv2219 (SDNY), after all statutes oflimitation
      had expired [JSAR, Dkt. 5-13 , pp. 46-47, 52]. Legal Significance: This constitutes a final
      adjudication on the merits, absolutely barring Appellees and their privies from ever re-
      litigating these extinguished claims under res judicata. Federated Dep 't Stores, Inc. v.
      Moitie, 452 U.S. 394, 398 (1981 ).
   3. Appellees' Key Filings in 03-93031 (BC NDGA) Predicated on Void/Extinguished
      Claims: In April 2003 , well after the execution of the void instruments and before the 2007
      Final Judgment, Appellees KTS and UST filed key documents in the 03-93031 bankruptcy
      case, including:

           a) Dkt. 5-1: UST's Notice of Appearance (Morawetz, Townson, Treace).
           b) Dkt. 5-2: KTS' Entry of Appearance for 02cv2219 Plaintiffs as purported
              "creditors" and "interested parties" (KTS, Meir, Mills, Walker, Kadaba).
           c) Dkt. 5-3: UST Motion for Dismissal with Prejudice or Conversion, relying
              implicitly on the SDNY litigation concerning GX 1-4/GX 5 (Morawetz, Townson,
              Treace).
           d) Dkt. 5-4: KTS' Opposition to Debtor's Motion to Reject GX 1-4/GX 5, asserting
              their validity.
           e) Dkts. 5-5 & 5-6: KTS ' Emergency Motion to Dismiss and Supporting Brief,
              predicated entirely on the enforceability of GX 1-4/GX 5 and related SDNY orders.

   4. Breach of Duty of Inquiry (Rule 9011(b)(3) & Rule 3.3): Appellee attorneys (KTS
      partners Meir, Mills, Walker, Kadaba; Zitter; Rabinowitz; UST attorneys Morawetz,
      Townson, Treace) had a non-delegable duty under Fed. R. Bankr. P. 901 l(b)(3) and their


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      ethical duty of candor (Georgia Rule 3.3) to conduct a reasonable inquiry into the factual
      contentions and legal basis for their filings (Dkts. 5-1 to 5-6) before submitting them to the
      Court. A reasonable inquiry would have readily revealed the patent criminal usury under
      NY law and the federal securities violations (unregistered broker-dealer status) rendering
      GX 1-4/GX 5 void ab initio. Their failure to conduct such inquiry or to heed its results
      constitutes a violation of these duties. See Dkt. 9 (F-10).
   5. Making False Statements of Law and Fact (Rule 3.3(a)(l)): By filing Dkts. 5-1 through
      5-6, which explicitly or implicitly represented GX 1-4/GX 5 as valid, enforceable debts
      conferring "creditor" 9r "interested party" status upon the 02cv2219 Plaintiffs, Appellee
      lawyers made knowing or reckless false statements of material fact and law to the
      Bankruptcy Court, directly violating Georgia Rule of Professional Conduct 3.3(a)(l). They
      presented predatory criminal usury null and void instruments, GX 1-4, and GX 5, as legally
       viable claims.
   6. Failure to Disclose Material Facts (Rule 3.3(a)(2)): Appellee lawyers failed to disclose
       to the Bankruptcy Court and have failed to disclose to this Court the material facts
       concerning the criminal usury of GX 1-4 under NY Penal Law § 190.40 and the federal
       statutory voidness of GX 1-4/GX 5 under 15 U.S.C. § 78cc(b) due to their clients'
       unregistered broker-dealer status. This disclosure was and is necessary to avoid assisting
       their clients' criminal and fraudulent act of attempting to collect unlawful debts through
       the bankruptcy process, constituting a violation of Georgia Rule of Professional Conduct
       3.3(a)(2).
   7. Presenting Legally Frivolous Claims (Rule 9011(b)(2)): The claims and legal positions
       asserted in Dkts. 5-1 through 5-6, predicated entirely upon the void ab initio and criminally
       unenforceable GX 1-4/GX 5, were not warranted by existing law and lacked any non-
       frivolous basis for an argument to extend, modify, or reverse existing law. These filings
       were legally frivolous, violating Fed. R. Bankr. P. 901 l(b)(2).
   8. Improper Purpose (Rule 9011(b)(l)): Filings Dkts. 5-1 through 5-6 were presented for
       improper purposes, including: (a) to harass Appellants; (b) to cause unnecessary delay and
       needlessly increase t~e cost of litigation; (c) to abuse the bankruptcy process as an
       instrument for collecting criminally usurious and void debts; and (d) to obstruct the
       Debtor's reorganization efforts, conceal assets of the Chapter 11 estate (+$522 million in
       strict-liability short-swing insider-trading profits) and evade consequences in the SDNY
       litigation (including contempt orders). This conduct violates Fed. R. Bankr. P. 901 l(b)(l) .
   9. Dishonesty, Fraud, Deceit, Misrepresentation (Rule 8.4(c)): By knowingly or recklessly
       presenting false claims based on void instruments, concealing material facts about their
       illegality, and misleading the Bankruptcy Court regarding their clients' true status and the
       nature of the debts, Appellee lawyers engaged in conduct involving dishonesty, fraud,
       deceit, and misrepresentation, directly violating Georgia Rule of Professional Conduct
        8.4(c).
   10. Conduct Prejudicial to the Administration of Justice (Rule 8.4(d)): The filing and
       pursuit of claims based on null and void ab initio and predatory criminal instruments (Dkts.
        5-1 to 5-6) wasted significant judicial resources, prolonged litigation based on meritless
        grounds, abused the bankruptcy system, and undermined public confidence in the judiciary.


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         This conduct is inherently prejudicial to the administration of justice, violating Georgia
         Rule of Professional Conduct 8.4(d).
    11. Appellees' Ongoing Breach of Duty to Correct False, Misleading, and Fraudulent
         Statements (Rule 3.3(a)(t)) and On2oing Misconduct (Rule 8.4): Appellee lawyers have
        an ongoing ethical duty to correct any prior false or misleading statements made to the
        tribunal. Their failure to correct the representations made in Dkts. 5-1 to 5-6 after Judge
        Sand's Dec. 20, 2007, voluntary Rule 41(a)(2) Final Judgment definitively extinguished
        all underlying claims, and their continued participation in 03-93031 and this 25cv00613
        appeal predicated implicitly or explicitly on those filings , constitutes a continuing
        violation of Georgia Rules 3.3 and 8.4. They continue to benefit from and perpetuate the
         initial fraud on the court.
    12. Specific Misrepresentation in KTS Notice of Appearance (0kt. 5-2): KTS's formal
        Entry of Ap earance [Dkt. 5-2] on behalf of ,FINRA (SEC) regulatory certified
        unregistered broker-dealers. Alpha Capital AG, Stonestreet L.P. , Markham Holdings Ltd.,
        and AMRO International S.A. explicitly identifies these entities as "interested parties and
        creditors." This representation was demonstrably false, as their status was predicated solely
        on the void and criminally usurious GX 1-4/GX 5. This filing constitutes a direct violation
        ofRules 3.3(a)(l) and 8.4(c).
    13. UST's Complicity and Breach of Duty (Dkts. 5-1, 5-3): The UST's filings, including its
        Notice of Appearance [0kt. 5-1] and Motion to Dismiss [Dkt. 5-3], by aligning with KTS's
        criminal and unethical efforts to enforce and facilitate the Hobbs Act loan sharking and
        extortionate collection of GX 1-4 and relying on circumstances arising from the void debts
        (such as the SONY fraudulent and void ab initio purported contempt order (GX 11, March
         11, 2003) stemming from Appellants' lawful efforts in refusing to honor Appellees'
        unlawful criminal usury debt collection criminal conversions under GX 1-4) without
        acknowledging or addressing the underlying illegality, implicitly validated the Appellees'
        improper claims. This constituted a failure by the UST attorneys (Morawetz, Townson,
        Treace) to uphold their duty to protect the integrity of the bankruptcy process and violated
        ethical duties analogous to Rules 3.3 and 8.4 applicable to government attorneys.
    14. KTS's Frivolous and Misleading Motions (Dkts. 5-4, 5-5, 5-6): KTS's Opposition to the
        Debtor's Motion to Reject Executory Contract [Dkt. 5-4], its Emergency Motion to Dismiss
        [Dkt. 5-5], and its supporting Brief [Dkt. 5-6] were entirely predicated on the false premise
        that GX 1-4/GX 5 were valid, lawful, and enforceable contracts. These filings constitute
        direct, material misrepresentations of law and fact to the Bankruptcy Court, violating Rules
        3.3(a)(l) and 8.4(c), and were frivolous under Rule 9011 (b)(2).
    15. Judicial Admissions by Failure to Respond,: Pursuant to the demand below, failure by
        any Appellee or their counsel to provide a timely, sworn opposition refuting these factual
        predicates (1-14) will constitute a binding judicial admission under penalty of perjury as to
        the truth of these facts and the validity of the legal conclusions regarding lack of standing
        and ethical violations, applicable in all related proceedings.




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II. FACTUAL PREDICATES CONFIRMING LACK OF
ARTICLE III STANDING, HOBBS ACT VIOLATIONS, RICO
PREDATORY CRIMINAL USURY UNLAWFUL DEBT
COLLECTION, AND VIOLATIONS OF PROFESSIONAL
CONDUCT RULES.
(Facts 1-9 establish the foundational illegality, voidness, and preclusion).

   1. Inherent IIJegality and Voidness Ab Initio of GX 1-4, GX 5 under New York Criminal
      Law: The Predatory Criminal Usury Subject Matter Instruments (GX 1-4, GX 5) are void
      ab initio and criminally usurious under NY Penal Law§ 190.40, a class E felony, imposing
      interest/charges exceeding 2,000% p.a. This criminality renders them nullities incapable of
      conferring any "legally protected interest" cognizable in the 02cv2219 (SONY), 03-93031
      (BC NDGA), 04cr1224 (SONY), 05crl 115 (SDNY), 25cv00613 (NOGA), and In re Ware
      (2008) Supreme Court of Georgia. Adar Bays, LLC v. GeneSYS ID, Inc., 28 F.4th 379 (2d
      Cir. 2022); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).
   2. Federal Statutory Voidness (Unregistered Broker-Dealer Status): Appellees
      (02cv2219 Plaintiffs), clients ofKTS, were certified by FINRA's senior executive Marcia
      E. Asquith, Esq. on May 17, 2021 , as unregistered broker-dealers [JSAR, 0kt. 5-13, p. 48] ,
      rendering contracts GX 1-4/GX 5 void as to their rights under 15 U.S.C. § 78cc(b),
      independently eliminating any alleged or purported "legally protected interest" in the
      predatory criminal usury subject matter, GX 1-4, and GX 5. Mills v. Electric Auto-Lite Co.,
      396 U.S. 375, 387-88 (1970).
   3. Federal Criminality (RICO & Hobbs Act): Appellees' , their privies, agents, proxies,
      surrogates, alter-ego, and all those in active concert therewith attempts to collect debts void
      for criminal usury constitute "unlawful debt collection" under RICO, 18 U.S .C. §§
      1961(6)(B), 1962, and felony extortion under the Hobbs Act, 18 U.S.C. § 1951(a), when
      using judicial process or threats. United States v. Grote, 961 F.3d 105 (2d Cir. 2020).
      Appellees cannot have a "legally protected interest" in committing federal felonies.
   4. Exclusive Basis of 02cv2219 (SDNY) Litigation: The 02cv2219 SDNY lawsuit initiated
      by Appellees was predicated exclusively upon the purported enforceability of the null and
      void initio and unlawful GX 1-4 and GX 5. [JSAR, 0kt. 5-5].
   5. Conclusive Judge Sand's Rule 41(a)(2) 2007 Final Judgment Procured by Appellees:
      On Dec. 20, 2007, after the statute of limitations expired, Appellees, through Appellee
      Zitter, voluntarily sought and procured a Final Judgment dismissing all 02cv2219 claims
      with prejudice under Rule 4l(a)(2). [JSAR, Dkt. 5-13 , pp. 46-47, 52].
   6. Absolute Res Judicata Effect of 2007 Final Judgment: This dismissal with prejudice is
      a final adjudication "on the merits," absolutely barring Appellees and their privies from re-
      litigating any claims that were or could have been raised concerning GX 1-4/GX 5.
      Federated Dep 't Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981 ); Semtek, 531 U.S. at 505-
      06.


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   7. Annulment and Mootness Effect: The voluntary dismissal annulled all prior interlocutory
      proceedings/orders/judgments within 02cv2219, rendering the underlying controversy
      regarding GX 1-4/GX 5 moot as of Dec. 20, 2007. A.B. Dick Co. v. Marr, 197 F.2d 498 ,
      502 (2d Cir. 1952); L-3 Commc'ns EOTech, 921 F.3d at 18-19. This does not affect the
      external preclusive effect of the final judgment itself.
   8. Established Privity: Appellees herein are either the original 02cv22 l 9 Plaintiffs or their
      privies (including KTS, Zitter, Rabinowitz, potential successors, agents, and those in active
      concert) bound by the 2007 Final Judgment under Taylor v. Sturgell, 553 U.S . 880 (2008).
      [See Appellants' Memo #7] .
   9. Conclusive Judicial Admissions of Criminal Intent: Appellee Zitter confessed under
      oath in Nov. 2007, during the U.S. v. Ware, 04cr1224 (SDNY) trial to "hiring" KTS for
      unlawful "collection activity" in the 03-93031 Chapter 11 bankruptcy court [Dkt. 9, Ex. F-
      11]. The KTS Memo confirms KTS's knowledge ofrelated illegalities (insider trading) and
      conspiracy. [Dkt. 9, Ex. F-10]. These admissions establish predicate and overt acts for
      RICO extortion, money laundering, unlawful debt collection activities, conspiracy to
      commit bankruptcy fraud, extortion, and other racketeering activities, and negate good
      faith.




III. (Facts 10-19 establish the Appellees' and their Privies' Hobbs
Act and RICO violations via Dkt. 5-1 to 5-6).
    10. KTS's Fraudulent Entry of Appearance (Dkt. 5-2) as Predicate Act: On April 10, 2003,
        KTS (Meir, Mills) filed an Entry of Appearance [Dkt. 5-2] in 03-93031, falsely
        representing the 02cv2219 Plaintiffs (unregistered broker-dealers) as "creditors" and
        "interested parties." Legal Significance: This filing, using court process ("color of official
        right") to assert fraudulent and void rights based on predatory null and void/criminal usury
        debts (GX 1-4/GX 5), constitutes an overt act of attempted Hobbs Act extortion(§ 1951(a))
        and an act of "collecting an unlawful debt" under RICO(§§ 1961(6)(B), 1962).
    11. UST Motion (Dkt. 5-3) Aiding and Abetting KTS' Unlawful Debt Collection Activity:
        On April 10, 2003, the UST (Morawetz) filed a bogus and manifestly frivolous Motion to
        Dismiss [Dkt. 5-3], · alleging bad faith based inter alia on what Morawetz risibly
        characterized as "Appellants seeking to avoid the consequences (including contempt/arrest
        order related to the predatory criminal usury null and void ab initio unlawful debts GX 1-
        4) of the SDNY litigation." (paraphrased). Legal Significance: By seeking dismissal to
        facilitate enforcement and collection efforts related to the predatory null and void/criminal
        debts, the UST filing obiectivelv aided and abetted the attempted Hobbs Act extortion(§
        195l(a)) and RICO unlawful debt collection(§§ 1961(6)(B), 1962) by Appellees KTS and
        their clients.
    12. KTS' Manifestly Frivolous, Risible, Vexatious, Filed for an Improper Purpose, and
        Baseless Opposition (Dkt. 5-4) Asserting Validity of Predatory Criminal Usury Void
        Ab Initio Unlawful Debts: On April 11, 2003, KTS (Meir) filed an Opposition [Dkt. 5-4]

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       to the Debtor's motion (Doc. 5, 03-93031) to reject GX 1-4/GX 5, explicitly lying,
       committing perjury, and fraudulently arguing in bad faith these void and criminally
       usurious instruments were valid and enforceable contracts, further asserting rights derived
       from the SDNY judgment based upon them. Legal Significance: This filing constitutes
       another overt act of attempted Hobbs Act extortion(§ 1951(a)) and RICO unlawful debt
       collection (§§ 1961 (6)(B), 1962), using court filings to demand enforcement of
       void/criminal obligations.
   13. KTS Emergency Motion to Dismiss (Dkt. 5-5) Predicated on Predatory Null and Void
       Ab Initio Criminal Usury Unlawful Debts: On April 11, 2003, KTS (Meir) filed a risible,
       manifestly frivolous, and bad faith Emergency Motion to Dismiss [Dkt. 5-5] the 03-93031
       Chapter 11 case, arg.uing (frivolously) " ... dismissal was warranted because the case was
        filed solely [notwithstanding the lawful objectives of the Chapter 11 Debtor, Appellant
        Group Management and its legal counsel Appellant Ware, to rid themselves ofpredators,
       '"Appellees, continual (daily), violent threats of their (the predators') intention to inflect
       extreme bodily harm, including murder (death) if necessary, to steal Group
       Management's free-trading stock then valued at +$522 million)] to evade compliance
       with SDNY Orders concerning the void/criminal GX 1-4/GX 5." (paraphrased). Legal
        Significance: This bad faith, frivolous, and fraudulent motion by KTS, seeking dismissal
        of the Chapter 11 to clear the path for the fraudulent criminal prosecutions of Appellant
        Ware in 04crl224 (SONY) and 05crl 115 (SDNY), and Hobbs Act predatory collection
        efforts based on predatory null and void/criminal usury debts, constitutes a further overt
        and predicate act of attempted Hobbs Act extortion (§ 1951 (a)) and RICO unlawful debt
        collection(§§ 1961(6)(B), 1962).
   14. KTS Brief (Dkt. 5-6) Explicitly Arguing for Enforcement of Predatory Null and Void
        Debts: The Brief in Support [Dkt. 5-6] filed by KTS (Meir) alongside Dkt. 5-5 explicitly
        argues the frivolous and vexatious, and bad faith purported merits of enforcing the moot
        and void ab initio alleged 02cv22 l 9 SDNY Orders (GX 11) predicated on the void/criminal
        GX 1-4/GX 5. Legal Significance: This brief provides detailed written advocacy
        leveraging the judicial process ("color of official right") to attempt collection of
        void/criminal debts, constituting clear evidence of attempted Hobbs Act extortion (§
        195l(a)) and RICO unlawful debt collection(§§ 1961(6) B), 1962).
   15. Pattern of Unlawful Debt Collection Activity (Dkts. 5-2, 5-4, 5-5, 5-6): The series of
        f'ilings by the UST and KTS (Dkts. 5-2, 5-4, 5-5, 5-6), an illegal association in fact, all
        aimed at enforcing or facilitating the collection of the void/criminal debts GX 1-4/GX 5
        through the Bankruptcy Court, constitutes a pattern of racketeering activity under RICO,
        specifically multiple predicate acts of unlawful debt collection. 18 U.S.C. §§ 1961 (5),
        1962(c).
   16. Conspiracy (RICO § l962(d), 18 U.S.C. § 371): The coordinated filings and shared
        objective between KTS (acting for the 02cv2219 Plaintiffs) and the UST (Dkts. 5-1 through
        5-6) to achieve dismissal of the Chapter 11 case, thereby facilitating the collection efforts
        related to the void/criminal debts, evidence a conspiracy to collect unlawful debt in
        violation of RICO, 18 U.S.C. § 1962(d), and a willful and deliberate conspiracy to defraud



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       the United States (by impeding the lawful function of the Bankruptcy Court), 18 U.S .C. §
       371.
   17. Use of Bankruptcy Process for Extortion ("Color of Official Right"): Each filing by
       Appellees KTS and UST (Dkts. 5-1 through 5-6) within the 03-93031 bankruptcy
       proceeding, invoking the authority and processes of the federal court to advance the
       collection of predatory null and void/criminal debts, GX 1-4, and GX 5, represents a
       wrongful use of "color of official right" supporting Hobbs Act extortion liability (§
       1951 (a)).
   18. "Collection" Activity under RICO§ 1961(6)(B): The filings Dkts. 5-2, 5-4, 5-5, and 5-
       6 by KTS, seeking dismissal of the 03-93031 Chapter 11 bankruptcy or opposing the
       Debtor' s rejection of the null and void ab initio predatory criminal usury unlawful debt
       contracts, GX 1-4, GX 5, to facilitate recovery, constitute direct attempts to "collect" an
       "unlawful debt" (defined in § 1961(6) as debt unenforceable due to usury) and are
       therefore predicate racketeering acts. See Grote, 961 F.3d at 119.
   19. Nexus Between Filings and Unlawful Objective: All filings Dkts. 5-1 through 5-6 are
       inextricably linked to the ultimate unlawful objective: obtaining payment or its equivalent
       (e.g. , preventing rejection, facilitating SDNY enforcement) based on the void and
       criminally usurious GX 1-4/GX 5. The filings were instrumental means to achieve this
       illegal end.




IV. (Facts 20-27 establish the absence of Article III standing
elements and ethical violations).
    20. Irrefutable Absence of Concrete Injury-in-Fact to a Legally Protected Interest:
        Based on predicates 1-19, Appellees cannot factually demonstrate any invasion of a
        "legally protected interest" in GX 1-4, and OX 5, predatory null and void ab initio
        criminal usury unlawful debts , negating the Article III standing "particularized, concrete
        injury-in-fact" requirement. Lujan, 504 U.S. at 560.
    21. Manifestly Self-Inflicted Harm (Clapper): Any detriment (unable to collect or enforce
        predatory criminal usury unlawful debts, GX 1-4, and GX 5) Appellees claimed in the
        02cv2219 (SDNY) complaint, and in Dkt. 5-1 to 5-6, was voluntarily self-inflicted due to
        their own illegal criminal loan sharking misconduct and voluntary Rule 4l(a)(2) dismissal
        with prejudice of 02cv2219 (SDNY) lawsuit on Dec. 20, 2007 , is legally and factually
        insufficient for Article III standing. Clapper, 568 U.S. at 416.
    22. Failure to Establish Causation: Any alleged "injury in fact" is not "fairly traceable" to
        Appellants' lawful conduct but to Appellees' own unlawful acts and Judge Sand' s
        voluntary Dec. 20, 2007, Rule 4l(a)(2) 2007 Final Judgment. Lujan, 504 U.S. at 560.
    23. Absolute Impossibility of Lawful Redressability: No federal or state court is lawfully
        authorized to enforce void, criminal, and precluded claims; thus, the Appellees' alleged
        injury is unredressable. Lujan, 504 U .S. at 561; Steel Co., 523 U.S. at 103-104.


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     24. Resulting Mootness: No live "Case or Controversy" exists regarding Appellees'
         extinguished claims; all derivative and related (02cv2219, 03-93031, 04cr1224,
         05cr1115, 25cv00613, and In re Ware (2008) Supreme Court of Georgia) proceedings
         are moot. A.B. Dick, _197 F.2d at 501-02; and see L-3 EOTech, 921 F.3d at 18-19.
     25. Appellees' Continuing Vexatious Re-litigation: Despite the above, Appellees persist in
         this appeal and prior proceedings [Dkts. 5-1 to 5-1 0], constituting bad faith collateral
         attack on Judge Sand's Dec. 20, 2007, voluntary Rule 41(a)(2) final judgment, vexatious
         and bad faith re-litigation of voluntarily mooted claims, and causing irreparable harm to
         the Appellants (+$5.2225 billion). [Deel. 17-13A, Part II].
     26. Violations of Ethical Duties (Rules 3.3, 8.4) and Rule 9011: Appellee lawyers (KTS ,
         Meir, Mills, Walker, Kadaba, Southwell, Grushko, Mittman, NeSmith, Frederick,
         Burgess, Hewett, Myers, Nash, Mittlemen, ·Zitter, Rabinowitz, UST attomeys-
         Morawetz, Townson, Treace) violated duties their duty of candor, engaged in
         dishonesty/fraud/misrepresentation, and filed frivolous pleadings (Dkts. 5-1 to 5-6) for
         improper purposes by presenting claims based on void/criminal/precluded debts without
         reasonable inquiry or disclosure.
     27. Binding Judicial Admissions by Failure to Respond: Failure to provide timely, sworn
         opposition refuting facts 1-26 constitutes binding judicial admission of these facts and the
         legal conclusions regarding lack of standing and misconduct.

V. Deemed Judicial Admission of Irreparable Harm and Joint and
Several Liability in the Sum Certain Amount of $5.2225 Billion.
        As a direct and proximate result of the Appellees' (including their privies, agents, proxies,
surrogates, alter egos, and all those in active concert therewith) failure to provide timely, sworn
written opposition specifically refuting the factual predicates Parts I, II, III, and IV above by the
deadline of March 28, 2025_, at 1;_00 PM Eastern Time, as demanded in this Declaration (17-16),
each Appellee, jointly and severally, is deemed to have judicially admitted, confessed, stipulated,
and agreed, effective March 28, 2025, that:

a. The unlawful acts, criminal misconduct, ethical violations, and bad faith re-litigation efforts
detailed in factual predicates Parts I, II, III, and IV herein did, in fact, occur as described;

b. These unlawful acts and conduct directly and proximately caused irreparable harm, injury, and
damages to Appellants Group Management (a sole proprietorship) and Ulysses T. Ware;

c. The quantifiable measure of said irreparable harm, injury, and damages resulting from the
aforesaid unlawful acts and conduct amounts to the sum certain of $5,222,500,000.00 (Five
Billion, Two Hundred Twenty-Two Million, Five Hundred Thousand Dollars);

d. Each Appellee, their privies, agents, proxies, surrogates, alter egos, and all those in active
concert therewith, hereby judicially admit, confess, consent, and stipulate they are jointly and


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severally liable to Appellants for the full amount of said damages- $5,222,500,000.00 (Five
Billion, Two Hundred Twenty-Two Million, Five Hundred Thousand Dollars).



VI. Legal Significance
       These deemed judicial admissions, confessions, and factual stipulations arising from the
Appellees' failure to timely contest the underlying factual predicates establishing pervasive
criminal and tortious conduct, conclusively establishes:

    1. The fact of irreparable harm to Appellants;
    2. The precise quantum of damages suffered as a direct consequence of the unlawful
       conduct; and
    3. The joint and several liability of all Appellees and their privies therefor.

        Accordingly, these matters are now removed from the realm of dispute in this proceeding
and all related proceedings, pursuant to binding principles of judicial estoppel, collateral
estoppel, and Rule 8(b)(6), Fed. R. Civ. P. (deemed admission of unanswered allegations), 1 as well
as controlling Eleventh Circuit law. 2

APPELLANTS' NOTICE PURSUANT TO RULE                                                            11     AND
STANDING ORDER ,r:M
        This Declaration serves as Appellants ' formal notice and good faith attempt, pursuant to
Fed. R. Civ. P. 1 l(b)(l-4) (via Fed. R. Bankr. P. 9011), 28 U.S.C. § 1927, and Paragraph (m) of
Judge Brown's Standing Order [Dkt. 2, 25cv00613], to "meet and confer" with Appellees
regarding the threshold, dispositive lack of Article lil subject matter jurisdiction (standing) and
the profound ethical violations detailed herein. This effort is undertaken to demand that Appellees
and their counsel fulfill their own ethical obligations under the District Court (NDGA), the ABA,
and the Georgia Rules of Professional Conduct Rules 3.3 and 8.4 by immediately ceasing the

1
 Fed. R. Civ. P. 8(b)(6): Effect of Failing to Deny. An a/legation-other than one relating to the amount
of damages- is adm itted ifa responsive pleadi ng is required and the allegation is not denied. If a responsive
pleading is not required, an allegation is considered denied or avoided. U1tited States v. 416.81 Acres of
Land. 514 F.2d 627,63 1 (7th Cir. 1975).

2
  New Hampshire v. Maine, 532 U.S. 742, 749 (2001) ("Where a party [Appellees' in 02cv2219 (SONY),
03-93031, Dkt. 5-1 to 5-1 OJ assumes a certain position in a legal proceeding, and succeeds in maintaining
that position [Dkt. 28, 03-93031; Dkt. 90, 02cv2219 (SDNY), voluntary Rule 41(a)(2) final judgment], he
may not thereafter, simply because his interests have changed, assume a contrary position, especially if it
be to the prejudice of the party who has acquiesced in the position formerly taken by him."). (emphasis
added).

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presentation of claims and arguments for which no non-frivolous basis exists, acknowledging the
conclusive preclusive effect of the 2007 Final Judgment, correcting prior misrepresentations to the
tribunals, and withdrawing from further participation based on the extinguished claims.

DEMAND FOR RESPONSE AND CONSEQUENCES OF FAILURE TO RESPOND

       Each Appellee identified above and in Dkt. 281 (03-93031 ), their privies, agents, proxies,
surrogates, alter-egos, and all those in active concert therewith, jointly and severally, are hereby
formally put on notice of the foregoing factua l predicates establishing their lack of Article III
standing and violations of professional conduct rules 3.3 and 8.4.

        AppeUees are directed to respond to this Declaration (17-16) (Part 17-16) (Parts I, II,
II, and IV), supra, in written opposition, under oath, subject to the penalty of perjury, as
officers of the court where applicable, and pursuant to their duties under Rules 3.3 and 8.4
of the District Court (NDGA), the ABA, and Georgia Bar's Rules of Professional Conduct,
no later than Friday, March 28, 2025, at 1:00 PM Eastern Time. Time is of the essence.

        Failure by any Appellee (or their authorized counsel) to file a timely, sworn written
opposition specifically refuting the factual predicates in Parts I, II, III, and IV, above shall result
in each non-responding Appellee being deemed, jointly and severally, to have knowingly and
willfully, with actual and constructive notice of this Joint Declaration (17-16), JUDICIALLY
ADMITTED, CONFESSED, STIPULATED, AND AGREED to the truth and accuracy of each
factual predicate herein, and to have NO OPPOSITION to the conclusions that Article III
standing was and is currently lacking and absent, and that their conduct and the conduct of
their counsel violated Georgia Rules of Professional Conduct 3.3 and 8.4 and Fed. R. Bankr.
P. 901l(b)(l-4).

       These judicial admissions shall be binding upon each non-responding Appellee for use in
and for any purpose with respect to the following judicial proceedings: 02cv2219 (SDNY), 03-
93031 (BC NDGA), U.S. v. Ware , 04cr1224 (SDNY), U.S. v. Ware , 05crl 115 (SDNY), In re Ware
(2008) (Supreme Court of Georgia), 25cv00613 (NDGA), and any other subsequent proceeding
between Appellants and Appellees.

Signed this 28th day of March 2025, under oath, subject to the penalty of perjury, having personal
knowledge of the facts, pursuant to 28 U.S.C. § 1746, in Brooklyn, NY.

        sses T. Ware

  y ~
              ~.w~
            Ware, attorney in fact for the Appellants

March 28, 2025
Brooklyn, NY 11226



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                                      End of Declaration




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